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15
                                   UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18

19   IN THE MATTER OF THE SEARCH OF       )   Case No. 3:16-mc-80263-LB
     CONTENT STORED AT PREMISES           )
20   CONTROLLED BY GOOGLE INC. AND        )   REDACTED VERSION OF DOCUMENTS
     FURTHER DESCRIBED IN ATTACHMENT      )
21   A                                    )   ATTACHMENT TO STIPULATION REGARDING
                                          )   REDACTIONS
22                                        )
                                          )   (PART 1 of 5)
23                                        )
                                          )
24                                        )
                                          )
25

26

27

28


     REDACTED VERSION OF DOCUMENTS
      Case 3:16-mc-80263-RS Document 49-4 Filed 05/05/17 Page 2 of 32




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12
                                        UNITED STATES D1STR1CT COURT
13
                                     NORTH'I!RN DISTRICT OF CALIFORNIA
14
15
                                  of Content                    Case No. 3-16-70816
16                               tored at
                            y oogle Inc. ·and
17     further Described in Attachment  A
       -                                                        Notice of Motion and Motion to Quash or
18                                                              Antend Search Warrant; Memorandum of
                                                                (>oints and Authorities in Support
19

20                                                               Under Seal
21                                                                                 January 19, 2017
                                                                Date:
22                                                              Time:              9:30 a.m.
                                                                Judge:             Hon. Lalll'ol Beeler,
23                                                                                 U.S. Mo.gistrnte Judge

24
25

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              NO'l'[CP. or, MO'l'ION ANO MOTION •ro QUASH t.>lt AMEND !lliARCM WARRANT: MEMO 01: POINTS A.ND ,\tl1'HC11tl1'1ES
                                                                                                     C11se 'No. 3Ml6-70816
     Case 3:16-mc-80263-RS Document 49-4 Filed 05/05/17 Page 3 of 32




 1     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            PLEASE TAKE NOTICE that on January 19, 2017; at 9:30 a.m., or as soon thereafter as
 3    this matter may be heard before the Honomble Laurel Beeler in Courtroom C ~ 15th Floor at the
 4     above-entitled Cou11:, located at 450 Golden Gate Avenue; $an Francisco, Califomia: 94102, Non-
 5    Paity Google Inc. (''Google') will, and hereby do~s, petition the Col,lrl for an Order to Quash or

 6    Amend the Search Warrant, pursuant to the Stored Communications Act; 18 U.S.C. § 2701 et seq,
 7            Google brings this Motion on the basis that the Wa1tant ·purports Google to disclose
 8    records that the government catlhot compel Google to disclose, in coriflict with the Stored
 9     Conmtt.m.ications Act, 18 lJ;$;C. § 2703. Moreover, the Warrant is overbroad, lacks particularity,
1O    and cannot have been based on the requisite showing of probable cause that each use;t used each
11    service in a manner that wou.ld generate records 1ikely to contain evidence of the criine under
12    investigation,
13            this Motion is ba:md upon this Notice of Motion and Motio~ the attached. Memorandum
14    of Points and A.uthoritit;is and supporting Decl?Tation, the argument at hearing, and all either
15    reClotcls, papers and pleadings on file in this action.
16

17    DATED: December 6, 2016                          PERKINS COIE LLP
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                                                       B y:~~--~----'-·J--~--~-~
19                                                         Julie E. Schwartz ..

20                                                          Aitorn~y:s for Non-Party Google Inc.
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             NOTJQ):: OF MOTION AND MOTJONTO QUASH OR AMEND SEARCH WARRAN:!'; MEMObF-PGINTS AND AUT:f:!QRJTIES
                                                                                            Case No, 3~16)70816
 Case 3:16-mc-80263-RS Document 49-4 Filed 05/05/17 Page 4 of 32




                            MEMORANJ>UM OF POINTS AND AUTHORJTmS
 2                                  I.        INTRODUCTION & SUMMARV
 3           The government has issued a search warrant to Google seeking records relating to the use
 4    of      ooglc services by          difforent Google users. For the sets of 1·eco1'ds the govemmenL has
 5    defined wilh parllculority1 Google has ali'cndy produced all of the t·ecords it can lawfully pl'Oducc
 6    to the gove1·nment, but the government has insisted that Google produce.additional records that
 7    the government cannot compel Google lo disclose under Malter of Warran/ fo Search a Certain
 8    E-Mail 1Jcco1mi Controlled & Maint11lned by Mlcrosqfi C01:p, (Mlcrosqf1) 1 829 P.3d l 97 (2d Cir.
 9    2016) ("Mlcrosojl"). Under MforosoJl 1 a search warrant issued under thi: Stored Communications

10    Acl ("SCA") cannot compel Google to disclose content that Is or may be stored exclusively
ll    outside the United Stutes.
12           Mol'eover, to the extent that the Warrant purpol'ts to compel Google lo pt•oduce records
13    beyond those already pl'Oduoed it Is overbl'oad1 falls to Identify with sufficient particularity the
14    uddltionnl servlcc(s) 01· sets of records that Google must search, and foils to establish probable
IS    cause with respecl Lo each of th4lusers for cnch such scrvlco or set ofrecords. Pacts
16    demonstrating probable cause to !iearch an em11il accounl do not necessarily dert1onslrate probable
17    cause to search records of other1 unrelated services (such as website analytics).           (t   Is highly
18    unlikely that the government demonstrated probable cause to believe that each of th                     sers
·19   used each ot'tht l listed services In a manner that was likely to generate reco1•ds containing
20    evidence of the crime under investigation. 1n tact, il cannot huve, because ns Google hus
21    informed the government, several of the listed servlces either hold no dala at all or no longe1·
22    ex.ist. Google hns already provided nil records in ils possession that the Wnrl'anl lawtully compels
23    Google lo produce.
24            Accordingly, the Court should quash the Wam,nt to the extent it purpot'ts to compel
25    Google to disclose records thnt are not confirmed to be stored in the United States. The Court
26    should farther quash or amend lhe remainder of the Warrant und require the govemtnent to
27    establish probable cause, or define with sufficient pnrticlllarity the sets of records for wltlch the
28
             NOTICE OF MOTION AND MO'OON TO QUASII OR AMBND SEAllOl l WARll/\NT; MEMO Oll l"OINTS .A.NP i\UTHO!tl'l'IBS
                                                                                                  Case No. 3-16-70816
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       government may have already established probt1ble cuust:i, ·for each of the              ifferent sets of
 2     records to be searched.
 3                                       ll.      FACTUAL BACKGROUND
 4              On July 2, 2016, Google received a search warrant (c.Jnted June 30, 2016) as pnrl of an
 5     lnvestigulion into an alleged wire fraud. See Decl1.1ratlon of .John R. Tyler in Support of Motion to
 6     Quash or Amend Search Warr•ant and Admlnlsll'ativc Motion lo Pile Unde1• Senl ("Tyler Deel."),
 7     Ex. A (the "Warrant"). The Warmnl directed Google to produce, with respect to                   lfferent
 8     Google accounls identitied by email address, all oleotronio 1111111, transactional information of nil
 9     email end account activity, busihess records and snbscriber information. It aJso directed Google
I(),   to identify "linked" accounts based on 11 variety of factors.      See Id. The Warrnnt fi.111her requested
11     for enoh of the       ccounts, "all flies, logs and data associated with"         i ffel'ent "Google
l2     Services." Id.
13
l4     to the government, which contained lhu following information responsive to the Wun·ant for each
l5     of the     accounts: basic subscriber information for each Google account, as well as any
l6     associated YouTube and Andl'oid accounts; a list of accounts that shared an nuthehtication oooklc
17     with ally of th        ccounts; contacts; native Google Drive flies and metadata mes associated
18     with native and non-native Google Drive files (which productlon includes data a·esponsive to the
19     demand fo1· ''Google Docs,,}; location history; nnd search histo1·y (described in the Wal'l'ant ns
20     "Web History11). Tyler Deel., Bx. B.
21              Google also pl'oduced Gmail content for all but              ccounts. Id. One of these
22     accounts had beon purged long before Google received the Wnrnml. The Omail content
23     associated with the other         accounts was stored ex.elusively outside the United States. With
24     l'espect to the           accounts fol' which it produced Gmal l content, Google did not produce ony
25     emnlls d1at had attuchments, nor did it produce content associated with Photos, bccaus&-given
26     the naturo of Google's distributed systems- they were not confirmed to be stored within the
27     United States.
28
                                                             -2-
                'NOTICf or MOTION ANO MOTION TO QUASII Oil /\MENO SUARCII WARRAN'l'; MUMO OF POINTS AND AU'J'HORrrJES
                                                                                                 Case No. 3-16-7081 (5
 Case 3:16-mc-80263-RS Document 49-4 Filed 05/05/17 Page 6 of 32




 1           On November 16, 2016, counsel for Google spoke with Assistant United States Attorney

 2   William Frentzen regarding Google's production. Tyler Deel.,      if 4.   Counsel for Google informed

 3   the government that as a result of the development of additional tools, Google had confirmed that

 4   an additional set of information responsive to the Warrant was stored in the United States, and

 5   Google would produce that additional information by the end of the week. Id. AUSA Frentzen

 6   expressed disagreementwith Google's interpretation of the law, and suggested that the

 7   government might file a motion for an order to show cause if Google did not produce all records

 8   sought by the Warrant, regardless of their location, by the end of the week. Id.

 9          On November 18, 2016, Google produced the additional infonnation to the

10   government. Tyler Deel., ,r 5, Ex. C. For the accounts located in the United States, Google

11   produced header information associated with the emails that had attachments, the· content of the

12   emails (though not the attachments themselves), and metadata for Photos. Id.

13          Ori November 21, 2016, Google sent a letter to AUSA Frentzen detailing its production to

14   date, and inviting further discussion to resolve this matter without litigation. Tyler Deel.,    ,r 6, Ex.
15   D. On December 6, 2016, Google contacted AUSA Frentzen to confirm whether, in light of

16   Google's production, the government considered this matter resolved. Id.       ,r 7.   Unable to so

17   confirm and given the government's stated intention to seek an Order to Show Cause, Google

18   files this motion to quash.

19                                          ID.     ARGUMENT
20           Google has already produced the electronic records that are responsive to the Warrant and

21   are maintained by Google within the geographic reach of the Warrant. The government has

22   nonetheless insisted that Google produce additional records that are not within the scope of the

23   Warrant. First, under the Second Circuit decision in Microsoft, a warrant issued by a U.S. court

24   pursuant to the SCA can only compel a provider to produce electronic records stored within the

25   United States. The SCA is clear that the government's authority to compel a provider to disclose

26   records of the sort described in the Warrant must be in compliance with the SCA. 18 U.S.C.

27   § 2703. The Second Circuit, the highest court to address the issue, has held that a warrant issued

28   under the SCA only reaches data stored in the United States.
                                                      -3-
            NOTICE OF MOTION AND MOTION TO QUASH OR AMEND SEARCH WARRANT; MEMO OF POINTS AND AUTHORITIES
                                                                                            Case No. 3-16-70816
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             Second, lhe Wal'l'ant is ovel'brand, vague, and lnoldng sufficient purtiuulflrlty, ns it requests
 2   all records from      diffcrenl Google services used b        ,~ifferent users. Sovern I of the services
 3   arc not ncluully services nl all, however, while others have lltlle-to-no rclution~hip lo one
 4   anothi.:r. This suggests that lhe .government mny not know what al I of these services a1·c or
 5   whether the users in fact used then,, let alone used them in a 1nannc1· that may give rise to
 6   probable cause to believe that records regarding thei1· use would contain evidence of the alleged
 7   wire fruud.
 8   A.     Google has fully complied with the Wnrl'But, which only l11wfully rciaches data
            lmown to be stored witllln the United Stutes.
 9
IO          Ooogl~ hns already p1·oduced all l'ecords identified with sufficient particularity that are
IJ   responsive to the warrant. A warrant issued under the Stored Communications Act ("SCA 11), 18
12   U.S.C. § 2701, el   suq.,   lawfully reaches only data stornd within the Unlled States. See Mlal'Osqfi,
13   829 F.3d at 222 ("[T]he SCA does not authoriie a U.S. court to issue and enfol'ce un SCA warrant
14   against n Uniled States-based service provid~r for the contents of a customer's electronic
15   c0minunications stored on sct·vcrs located outside the United States:'). Google has already
16   prnduccd all recot•ds that it onn ascertain are stot·ed within the United Stutes. That Is the extent of
17   the Warrant' s ambit.
18          ln Microsoft, a panel of the Second Circuil unanimously held thut ex:ecutlng a wananl 10

19   obtain data stored outside of the United States 11would constitute an unlawful cxlrnlerl'itorlal
20   application of the Act." 829 F.3d at 220. The court held that the SCA did not authorize the
21   govcmment to compel a U.S. provide!' Lo produce eleotl'Onic records stored in data ce11tel's outside
22   the United Stat~s. See id. n{ 210-21. 1 At\er nil, the court obsorvcid1 the SCA 's "focus" Is
23   prlmarily on p1·ot~oting user prtvnoy in stored electronic com111unioatlons, nol on law enforcement
24   needs. St4e id. nt 221. As a result, the seizure of user informaiioJJ stored outside the United
                                                                                  .
25   States-regardless of the locntion of the user or ofthe service provider-occurs outside the
26
27   1 Although   the data nt Issue In Microsoft was stored abroad, Microsoft acknowledged IL could use
     a "database mana2ement oro1m1m" from within the United States to collect and produce "account
28   data that is sto1•ed on any of Its servers globully." Id. nt 203.
                                                        -4-
            NOTICE or M0'110N ANO MOTION TO QUASI 1OR AMEND SliMCII WAMAN'r: MBMO OF POINTS AND ,\UlilO{tlTUlS
            '                                                                              Cnso'No. 3-16-70816
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 1    United States and thus constitutes an unlawful extraterritorial application of the SCA. See id. at

 2    220.

 3           The panel relied on established precedent that courts must presume that statutes (like §

 4   · 2703 of the SCA) do not apply extratetritorially in the absence of an express indication from

 5    Congress. RJR Nabisco, Inc. v. European Cmty., 136 S.Ct 2090, 2100 (June 20, 2016) ("Absent

 6   clearly expressed congressional intent to the contrary, federal laws will be construed to have only

 7    domestic application."); Morrison v; National Australian Bank Ltd., 561 U.S. 247 (2010) (statute

 8   must contain "a clear indication of extraterritorial application" in order to so apply). The panel

 9    found that § 2703, which sets out the requirements the government must satisfy to compel the

10   production of user data from providers, contains "no such indication" of

11    extraterritoriality. Microsoft, 829 F.3d at 211. The panel further reasoned that by using the term

12    of art ''warrant" in§ 2703, Congress intended to impose all of the traditional limitation~

13    associated with physical search warrants, including that they can only be executed in the United
14   States. Id. at 214-15 (finding "no reason to believe that Congress intended to jettison the

15    centuries oflaw requiring the issuance and performance of warrants in specified, domestic
16    locations, or to replace the traditional warrant with a novel instrument of international

17    application"); see also F.A.A. v. Cooper, 132 S.Ct. 1441, 1449 (2012) ("[W]hen Congress

18    employs a term of art, 'itpresumablylmows and adopts the cluster of ideas that were attached to

19    each borrowed word in the body oflearning from which it was taken."'). Further, the panel

20    agreed with courts throughout the country that the purpose of§ 2703 is to protect user

21   privacy. Microsoft at 221; see Sams v. Yahoo, 713 F. 3d 1175, 1179 (9th Cir. 2013) (the purpose

22    of the SCA is "to protect the privacy of electronic communications" in part by "placing limits on

23   the goverriment's ability to compel network service providers to disclose information they

24    possess about their customers and subscribers [via] 18 U.S.C. § 2703"); see also U.S. v. Graham,

25    824 F. 3d 421,438 (4th Cir. 2016) (the SCA "creates a set of Fourth Amendment-like privacy

26    protections by statute") (quoting Sams); Garcia v. City ofLaredo, Tex., 702 F.3d 788, 791 (5th

27    Cir. 2012) ("Congress passed the SCA as part of the Electronic Communications Privacy Act to

28    protect potential intrusions on individual privacy ...."). Thus, the panel concluded that a warrant
                                                       -5-
             NOTICE OF MOTION AND MOTION TO QUASH OR AMEND SEARCH WARRANT; MEMO OF POINTS AND AUTHORITIES
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 1   purporting to permit the government to search data on a server located outside the United States is

 2   an impermissible extraterritorial application of§ 2703. Id at 221. The Second Circuit in

 3   Microsoft is the only appellate court to address whether an SCA warrant may compel a provider

 4   to disclose content stored outside the United States; the holding of that case should be applied

 5   here. See Herbst v. Cook, 260 F.3d 1039, 1043 (9th Cir. 2001) (finding the rationale of the

 6   Second Circuit to be persuasive on matter of first impression in the Ninth Circuit). 2 The Warrant

 7   therefore cannot compel Google to search, seize, and produce data in the subject accounts stored

 8   outside the United States.

 9          The Warrant also cannot reach records if it is unknown whether the records are located in

10   the United States. See, e.g., In re Warrant to Search a Target Computer at Premises Unknown,

11   958 F. Supp. 2d 753, 757-58 (S.D. Tex. 2013) (holding that a warrant cannot reach records the

12   location for which is unknown). Indeed, courts within th_is district have recognized that for

13   traditional search warrants issued pursuant to Fed. R. Crim. P. Rule 41, a magistrate judge lacks

14   authority to issue a search warrant for out-of-district property, even where the location of the

15   property was unlmown at the time of issuance. United States v. Henderson,. Case No. 15-ci:-

16   00565, 2016 WL 4549108 at *3-4 (N.D. Cal. Sep. 1, 2016) (holding that a Virginia judge lacked

17   ~uthority to issue a warrant to search property the location of which was unknown at the time of

18   issuance, and which was ultimately located in California); see also Fed. R. Crim. P. 41 (b)

19   (defining territorial limits of search warrants to reach property within the district of the magistrate

20   or, in certain cases not relevant here, the United States). 3 By producing the records known to be

21   stored in the United States, Google has fully complied with the Warrant.

22
     2
       This would not be the first time the opinion of a single Circuit Court changed as a practical
23   matter the way courts and parties viewed the SCA. See, e.g., United States v. Warshak, 631 F.3d
     266, 288 (6th Cir. 2010) (holding the Fourth Amendment requires the government to obtain a
24   wanant for communications content, notwithstanding section 2703 of the SCA).
     3
       While Rule 41 was modified on December 1, 2016, to permit magistrate judges to issue
25   warrants to search out-of..:district electronic information in certain circumstances not relevant
     here, nothing in the amended Rule 41 contemplates a search of property that is or may be located
26   outside the country. As the Department of Justice acknowledged in a letter to Advisory
     Committee on the Criminal Rules, "[i]n light of the presumption against international
27   extraterritorial application, and consistent with the existing language of Rule 41(b)(3), this
     amendment does not purport to authorize courts to issue warrants that authorize the search of
28   electronic storage media located in a foreign country or countries." Letter from Mythili Raman,
                                      .                -6-
            NOTICE OF MOTION AND MOTION TO QUASH OR AMEND SEARCH WARRANT; MEMO OF POINTS AND AUTHORITIES
                                                                                         Case No. 3-16-70816
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               The Wurrnnt therefore compels 09ogle to produce only dutn known to be stored within
 2    the United States. See Mlcrosojl !It 222; 18 U.S.C. §§ 270 I, 2703. Google hos already prnduced
 3    all records ldentlned with sufficient partlculnrlty that IL can ascertain are stored In the United
 4    States. Google l'espect-fblly requests that the Cow1 quash the Warrant to the extent IL demands
 5    that Ooogl'e produce data that is not known to be located within the borders 0fthe United States.
 6    B,       The Warrant is overbroad, lacks pa1·ticularity, aud cannot have been bnscd on the
                requisite showing of.p1·ob11blc cause that each usor used each service In a manner ·
 7             'that would generate rcco1·ds likely to contain evidence of the crime under
               investigation.
 8

 9             The Warrant is also overbroad because it purports lo require Google Lo search uall" data
IO    "nssocinted with" n laundry list of nearly every Google service, for every idenlined
11    account. These are the sorts of"catchall phrase[s]" and boilerplate descriptions, United States v.
12    Clark, 3 I F.Jd 831 , 836 (9th Cir. 1994), that tend to l'eflecl ovcr~readth and lack of
13    pa11iculru·lty. Google is concemed with respect to mnny of the sel'vices Identified (hAt the
14    magistrate issuing the Wa1·1·ant may nol have been "fully app1·ised of the scope of the search" and
l5    could nol have "Lmadc] the determination that the search in all ofits dimensions Is bnsed upon
Iti   probable cause and particular descl'iptlons." U.S. v. Hillyard1 677 P.2d 1336, 1339 (9th Cir.
17    l 982). Although Google is not privy to the affldn.vlt submilted ln support of tbe Warrant
18    application, it seems unlikely that n single affidnvil could support a linding or probable cause that
19    each o       users used each ol         ervlces In such n manner that the l'ecords or such use contain
20    cvlde11oe of the crime under investigation. The foot that a suspect used a Gmail address does not
21    establish probable cause to search the records ofall of Google's othe1· services, most of which are
22    stored independent of, and may have nothing to do with, Gmull rcoords.
                                                                         I

23             A court determ Ines whether a w1mant Is overbrolld by considering 1'whether probable
24    cause exists to seize all Items of a particular type described in the warrant.» Untied States v.
25    Spilolro, 800 F.2d 959, 963 (9th Cir. 1986). Applying these principles to the SCA warrant al
26
      Acting Assistant Attorney General, to Judge Reena Raggi 1 Chair Advisory Comm. on lhe
27    Criminal Rules (Sep. 18, 2014) (available at https://www.justsecyl'ity,ora/wp-
      conLcnL/uplo11ds/2o 14/09/R.amnn-!cttcr-lo-commillec-,g,d,O. Rule 41 a<1co1·dingly makes clear that
28    the government cannot obtain a search warrant to search pl'operty outside the Unlted States.
                                                               •7.
               NOTICCi Of MOTION AND MO'OON TO QtJASII Oil l\M 6]110 S6ARCI I WA.RR.ANT: MEMO OF rolNTS AND AUTI IORl1ll!S
                                                                                                     Cns11No, 3-16-10816
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     issue here, the government must establish prob!lble cause fo1· each user fo search et1ch Google
 2   sel'vice for which it l'oquests electronic records. See United Stales v. Barihelmm,, No. 13-1001 6,
 3   2013 WL 3946084, ut ljl l 1 (D. Kan, .July 31, 20 13) (warrants dlreoted to Yahoo! and Apple were
 4   ove1·brond "because ~1ey ellow[ed] the search ofttlJ emails, pictures, friends and groups," even
 5   when they "were limited to a specific account" and "a specific time frame"). Establishing
 6   probable cause "that evidence of a crime would be found in the contents of email accounts" Is not
 7   su t'ficlent to senl'ch other services. See Id.

 8           Even without the boneflt of seeing the affidavit, it Is olc:iar there are deficiencies in the
 9   probable cause showing behind the Warrant. Some oflhe ''services" identified in the Wan·anl
IO   either do not cxisl or do not hold data. For example GA Plus, Googlo Apps, Dasher Policy, and
11   tho Apps Administrator Control Panel ore not s,.wvtces or prnducls offered by Google, but rather
12   account oonflguration settings related to enterprise accounts. They do 11ot hold any speci nc type
l3   of data. Moreover, Google Talk is a service that was shut down in early 2015.
14           For other services identified in the Warrant, including Google Maps, Google Sync,
15   Google Analytics, Webmaster Tools, and AdWords, it is not clear given lhe nature of the services
16   and the type of data ussocialed with them what type of data is .being sought (and the Wammt does
17   nol specify), ror example, u request for records associated with "Mnps" could simply be a
18   request for records related Lo o. user's map scorches (which Google has already produced as o.
19   subset or records for Search History), or such 11 request might refer to other records oroadly
20   associated with ''Maps;' but held by Google in variety of different wnys depending on the type of
21   dalu at issue, such as but not Um lted to records associnted with custom maps, changes and edits to
22   public places, starre'1 places or private labels, end saved locations. Bach oflhese data types
23   l'equircs n separate quel'y to conduct a senrch of n separate database. Because the Warmnt lacked
24   su fficlent pal'ticulnrity for Google Lo craft such queries, Google has not produced "Maps" data, lf
25   any, fol' the    accounts at issue. Analytics, meanwhile, is a service available to users that host
26   websites that provides details abot1t the visitors to those websites (suoh us the number of visitors,
27   the referring websites, the regions where visitors are loc11ted, elo.) on~ allows the user to generate
28   reports. The bulk of"Analytics" data can only be accessed through the running ofcustomized
                                                            ·8-
            N011CB OF M01'10N /\NO MO'nON TO QUASI! OR AM13ND SUARCII WARRAN1~ MJ!MO Olt JIOIN't"S /IND AU'rnORJ'l'IC!S ·
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 1   reports that requires the entry of specific query parameters. The Warrant lacked specific

 2   particularity as to what type of Analytics reports were being sought and without that information

 3   it is impossible to run the reports. Neither Maps nor Analytics has a discrete set of "records"
 4   clearly identified by the Warrant; instead, Google requires greater specificity about what,

 5   precisel)'., is being sought in order to conduct a search for responsive records related to these

 6   services.

 7           The vyarrant thus did not include direction "specific enough to enable the person

 8   conducting the search to reasonably identify the things authorized to be seized." Spilotro, 800

 9   F .2d at 963. Such specificity is important to guide the party conducting the search, to prevent

10   "rummaging through a person's belongings" and to "ensure[] that the magistrate issuing the

11   warrant ... [has] accurately determine[d] whether the entire search is supported by probable

12   cause." Id At the very least, the Warrant should identify those services, and the magistrate
13   should be made aware of the specific information sought.

14           Common sense dictates that the facts necessary to support probable cause to believe that

15   an email account contains evidence of a crime would differ from those necessary to support
16   probable cause to believe that web analytics or advertising records contain evidence of a

17   crime. That an individual has a Gmail account does not give the government carte blanche to

18   scour all Google services for other data the individual may have stored with Google, absent

19   probable cause that such data exists and constitutes fruits~ evidence, or an instrumentality of a

20   crime. Indeed, it is _not clear how probable cause could exist to search services when the

21   government does not know what those services are, or where they cannot identify what records

22   they hope to obtain. It is quite clear that the government used a boilerplate form warrant,
23   divorced from the facts of the case and the users at issue. In so doing, it failed to make the

24   requisite showing that there is probable cause to believe that each user used each service and that

25   each service likely contains evidence of the crime under investigation.

26          Because the Warrant does not identify with particularity the places to be searched and

27   items to be seized (and is presumably not supported by probable cause to believe that each user

28   used each service in such a manner that record relating to that service will contain evidence of the
                                                      -9-
            NOTICE OF MOTION AND MOTION TO QUASH OR AMEND SEARCH WARRANT; MEMO OF POINTS AND AUTHORJTIES
                                                                                        Case No. 3-16-70816
Case 3:16-mc-80263-RS Document 49-4 Filed 05/05/17 Page 13 of 32




     crime) and is instead unconstitutionally overbroad, Google should not be compe11ed to produce
2    any ful'iher l'eco'rds until the govemment identifies the specific Google services for which it has
3    established probable cause to search.
4                                            JV.   CONCLUSION
 5          For the reasons stated above, Google t·espectfully requests that the Coul't quash the
6    Warrant to the extent it seeks to records that. ai·e or may be stored outside the United States, and
7    .further to amend the Wan·ant to require Google to search users' records only when the
 8   government has established probable cause that that user used that service in a mariner that would
 9   generate records that would contain evidence of the crime under investigation.
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     DATED: December 6, 2016                             PERKINS com LLP
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                                                             Attorneys for Google, lnc.
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            NOTICE OF MOTION AND M01'10N TO QUASH OR AMEND SEARCH WARRANT: MBMO 011 POINTS AND AUTHoru:rms
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Ii    Attomeys for Google Inc.
12.
                                    UNITEPSTATBS DISTRICT COURT
13
                                 NORTHERN DlSTRLCT OF CALLFORNlA
14
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16                                               Case No. 3- t 6.:70816

17
                                                 Declaration of John R. Tyler in Support of
18                                               Non-Party Google lnc.'s Motion to Quash 01•
                                                 Amend Search Wnra·ant and Admlnistratlve
19                                               Motion to File Undel' Sent
20                                               Under Seal
21
                                                 .Judge:      Hon. Laurel Beeler,
22                                                            U.S. Magistrale Judge

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                                                                 DBCLARATION OF JOHN R. TYLER
                                                                             Cose No. 3·16-70816
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 1            I, JOHN R. TYLER, declare and certify as follows:

 2            1.     I am an attorney with the law firm of Perkins Coie LLP in Seattle, and am one of
 3   the attorneys representing non-party Google Inc. in the above-entitled action. I have personal

 4   knowledge of the facts set forth in this declaration and am competent to testify.

 5            2.     Attached as Exhibit A is a true and correct copy of the search warrant ("Warrant")

 6   and sealing order that Google received on July 2, 2016. The Warrant contains a nondisclosure

 7   order that orders Google ''not to disclose the existence of this search warrant and any document

 8   relating to this search warrant to anyone other than Special Agents of [Homeland Security

 9   Investigations] or other specified law enforcement officials." The sealing order requires the

10   "search warrant and supporting documentation (e.g., affidavit, attachments,'exhibits) in the

11   above-entitled matter, together with the application and this Court's sealing order" to be filed

12   under seal.

13            3.     Attached as Exhibit Bis a true and correct copy of the production letter that

14   Google sent to the government on September 30, 2016, accompanying a production to the

15   government responsive to the Warrant. The production letter stated that Google's production was

16   made consistent with the Second Circuit's decision in Matter of Warrant to Search a Certain E-

17   Mail Account Controlled & Maintained by Mtcrosoft Corp. (Mic1•osoft), 829 F.3d 197 (2d Cir.

18   2016).

19            4.     On November 16, 2016, I spoke with Assistant United States Attorney William

20   Frentzen regarding Google's production. ·I informed AUSA Frentzen that Google intended to

21   produce additional records determined to be responsive and stored within the Uni!ed States

22   forthwith, and further that Google would send a letter describing its production in detail. AUSA

23   Frentzen responded that the government disagrees with Google's interpretation of Microsoft, and

24   threatened to file a motion for an order to show cause if Google did not produce all records

25   sought by the Warrant, regardless of the location of those records, by the end of the week.

26            5.     Attached as Exhibit C is a true and coITect copy of the cover letter Google sent on

27   November 18, 2016, accompanying a production to the govermnent of the following additional

28   inforrµation responsive to the warrant: header information associated with the emails that had
                                                      ·2-
                                                                       DECLARATION OF JOHN R. TYLER
                                                                                   Case No. 3-16-70816
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     attachments, as well as the content of those email messages, but not the attachments themse)ves
 2   (which were hot con-finned to be stored in the United States).
 3          ..6     Attached as Exhibit D is a true and correct copy of the letter sent to A USA
 4   Frentzen by my colleague and Google co-counsel Todµ Hinnen on November 21, 2016, detailing
 5   Google's response to the Wart'ant.
 6          7.      I am infbrmed that on December 6, 20 I6, Mr. Hinnen A USA Frentzen to confow
 7   Whether, in light of Google's responses, the government would consider this matter resolved. l
 8   am further informed that Mr. Hhmen was 1.mable to so confirm.
 9          I declare under penalty ofperjuty that the foregoing is true and correct to the best of my
10   knowledge and belief. Executed in Mountain View, California; on Decembet; 6, 2016.
II

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                                                                                  Case No. H6-708l6
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                   EXHIBIT A
          Case 3:16-mc-80263-RS Document 49-4 Filed 05/05/17 Page 18 of 32




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                   EXHIBITB
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                                                                  September 28, 2016


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                   Special Agent Michael Deloney
                    ICE
                   630 Sansomc Strcc:l, Suite 720
                   San Francisco, CA 94111

                                 Re: Senl'i:h Worr11nt dated .tune 30, 2016 (Google Ref: No. 737303)
                                     SF'02URI6SF00/4

                    Deal' Special Ageht Delaney:

                             Pursuant Lo lhc Search Warrant issued in the above-referenced matter, and in accordance
                   with state and federal lnw, Including the Sto1·e<l Communications Act (SCA), sec 18 U.S.C. §
                   270 I el seq .. Google has conducted a di ligent search lo identify responsive records stored 011
                   Google's U.S. servers. See !n lvlalfar of Wammr to Search .Cartaln E-Mail Aaao,1111 Controlled
                   and lvfaintalnad by Mlcrosojl Corporufion, _ F.3d_, 2011.i WL 3770056 (2d Ci1·, 2016) (the SCA
                   does not nnthol'lze coui1s to Issue anc.l enforce ugnlnst US-based service providers wo1·1·ants for the
                   sei1.u1·e of Information stol'ed exclusively outside the United States). Enclosed herewith arc
                   recot'ds l'esponsive to your request.
                                 Accompanying this letter Is responsive informnllo11 to the ex.tent re[lsonably occcsslble
                    from ours stem associated with the Google nccount(s)




                   soh:utlo11s in the Law 1:.nt'orcemenl Request. System. We huvo nlso included as gne Ce1t11icate of
                   Authcmlclty which includes n 11st of hash values cot'respondlng to each 1ile. Google may nol
                   retain n copy of this production but does endeavor to keep a list of the Oles and their respective
                   hash values. To the extent any docuhlent provided he1·ein contuins information exceeding lhc
                   scope of your l'equest. prntected from disclosure 01· otherwise not subJ~ct to prndu9tlon, if at all,
                   we have redacted such Information or removed such data fields.
                             To the extent this producUon contains native Google Dl'lve me types such as Google
                    Docs or Sheets, those tiles were expo1·1ed as ~n equivalent file lypo so that tho files can be opened
                    outside of the native Drive appllcntlons. In addition, non-Drive nppllcatlons can Integrate with
                    Drive for file manugemc11t pu1·po~es und In some cases these flle5 cannot be exported. In such
                    cases, the content file will ccintnirt a message to that effect.
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                     Secondary email nddrcss Information Is provided by the user and Is generally not verified.
              Therefore, the fact thaL an 11ccount is listed as u secondal'y email address docs not necessarily
              mean thnt that secondary nccounl Is under the control of lhe snme user as the primary account.

                      Please note that Google Wallet service dntn Is under the control of Google Payment
              Corpol'Dtlon, Any request for such dntn must bci specifically addressed to Google Payment
              Corporatlnn nnd can be served through the cmRil addl·ess googlopayments@google.com.




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                                                              Regards,


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